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     Adron W. Beene SB# 129040
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 5
     Attorneys for defendants:
 6   PURETHINK LLC, a Delaware limited
     liability company, IGOV INC., a Virginia
 7   corporation, and JOHN MARK SUHY
 8
                         UNITED STATES DISTRICT COURT
 9
                        NORTHERN DISTRICT OF CALIFORNIA
10
     NEO4J, INC., a Delaware corporation,         CASE NO. 5:18-CV-7182 EJD
11   and NEO4J SWEDEN AB, a Swedish
     corporation,                                 ADRON W. BEENE AND
12
     Plaintiffs,                                  ADRON G. BEENE’S NOTICE
13   v.                                           OF MOTION WITHOUT
                                                  HEARING AND MOTION TO
14   PURETHINK LLC, a Delaware                    WITHDRAW AS COUNSEL FOR
     limited                                      DEFENDANT JOHN MARK
15                                                SUHY; DECLARATION OF
     liability company, IGOV INC., a
                                                  JOHN MARK SUHY;
16   Virginia corporation, and JOHN
                                                  [PROPOSED] ORDER
     MARK SUHY, an individual,
17                                                GRANTING MOTION TO
     Defendants.
                                                  WITHDRAW
18
     AND RELATED COUNTERCLAIMS
19

20

21

22                                 NOTICE OF MOTION
23         PLEASE TAKE NOTICE that, Adron W. Beene and Adron G. Beene shall
24   and hereby do respectfully seek leave of this Court, pursuant to L.R. 11-5 and in
25   compliance with CAL. R. Prof. Conduct 3-700, to withdraw as counsel for Defendant



        MOTION TO WITHDRAW
        CASE NO. 5:18-cv-7182 EJD                                                  1
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 1   John Mark Suhy. Pursuant to L.R. 7-1(b), counsel requests this motion be made

 2   without an oral hearing, as this motion is made with consent of the client and

 3   therefore there are no disputed issues.

 4

 5                                MOTION TO WITHDRAW

 6

 7   I.      Introduction

 8           Defendant John Mark Suhy has discharged his current counsel and seeks

 9   represent himself on a Pro-se basis. This motion is brought to effectuate the client’s

10   wishes.

11

12   II.     Good Cause Exists to Permit the Withdrawal

13           Leave of court is required for an attorney to withdraw from representation.

14   L.R. 11-5(a). Notice is to be provided to client and all other parties, reasonable in

15   advance, who have appeared in the case. L.R. 11-5(a). Where a party stipulates to

16   appear pro-se, the withdraw does not need to be conditioned. L.R. 11-5(b).

17           CAL. R. Prof. Conduct 1.16(A)(4) requires withdrawal where the client

18   discharges the lawyer.

19           The notice above has been provided in reasonably in advance, and served to

20   counsel for all other parties through ECF. Mr. Suhy’s has acknowledge receipt of

21   this motion in the below declaration providing his consent, therefore no separate

22   proof of service for him is required. The below declaration providing consent shows

23   that a withdraw needs to be granted to allow counsel to comply with their

24   professional conduct obligations, the wishes of the client, and that no conditions are

25   necessary on the withdrawal.



           MOTION TO WITHDRAW
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 1         For all of the foregoing reasons, and the below delaration of consent, this

 2   motion for withdraw should be granted.

 3

 4   Dated: September 25, 2024
                                            _____/s/ Adron W. Beene_________
 5                                          Adron W. Beene SB# 129040
                                            Adron G. Beene SB# 298088
 6                                          Attorney At Law
                                            Attorney for Defendants
 7                                          PURETHINK LLC,
                                            IGOV INC., and JOHN MARK SUHY
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        MOTION TO WITHDRAW
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 1                         DECLARATION OF JOHN MARK SUHY

 2   I, John Mark Suhy, declare as follows:

 3         1. I have discharged Adron W. Beene and Adron G. Beene as my attorneys for

 4         all purposes.

 5         2. I seek to represent myself in this action, including any appeal, on a Pro-se

 6         basis.

 7         3. I consent to the withdrawal of Adron W. Beene and Adron G. Beene as my

 8         attorneys for all purposes.

 9         4. I have received and read the foregoing motion for withdraw and

10         understand its contents.

11         5. My contact information for service of documents, until such time as I am

12         granted access to ECF, is:

13                  John Mark Suhy
                    8814 Danewood Drive
14                  Alexandria, VA 22308
                    Tel: (703) 862-7780
15                  Email: jmsuhy@gmail.com
16

17   I declare under penalty of perjury under the Laws of the State of California that the

18   foregoing is true and correct.

19

20   Executed on September __,
                           25 2024 in the Commonwealth of Virginia, County Of Fairfax

21

22                                    __________________________
                                      John Mark Suhy
23

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        MOTION TO WITHDRAW
        CASE NO. 5:18-cv-7182 EJD                                                   3
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     NEO4J, INC., a Delaware corporation,          CASE NO. 5:18-CV-7182 EJD
11   and NEO4J SWEDEN AB, a Swedish
     corporation,                                  [PROPOSED] ORDER
12
     Plaintiffs,                                   GRANTING MOTION TO
13   v.                                            WITHDRAW

14   PURETHINK LLC, a Delaware
15   limited
     liability company, IGOV INC., a
16   Virginia corporation, and JOHN
     MARK SUHY, an individual,
17
     Defendants.
18
     AND RELATED COUNTERCLAIMS
19

20         Adron W. Beene and Adron G. Beene, seek to withdraw as counsel for
21   defendant John Mark Suhy in the above-captioned litigation pursuant to L.R. 11-5
22   and CAL. R. Prof. Conduct 3-700. This court finds that, as the withdraw is based on
23   the consent of the client, and the granting of this motion will not cause substantial
24   prejudice or delay to any party,
25



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 1         IT IS HEREBY ORDERED THAT Adron W. Beene and Adron G. Beene’s

 2   Motion to Withdraw as Counsel for defendant John Mark Suhy is GRANTED.

 3   Adron W. Beene and Adron G. Beene’s representation of John Mark Suhy is hereby

 4   terminated in this proceeding.

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 6   DATED:________________           By:______________________

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        MOTION TO WITHDRAW
        CASE NO. 5:18-cv-7182 EJD                                             5
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 1                                   FILER’S ATTESTATION

 2          I, Adron G. Beene, am the ECF user whose credentials were utilized in the

 3   electronic filing of this document. In accordance with N.D. Cal. Civil Local Rule 5-

 4   1(i)(3), I hereby attest that all signatories hereto concur in this filing.

 5

 6   Dated: September 27, 2024

 7                                             _____/s/ Adron G. Beene_________
                                               Adron G. Beene SB# 298088
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        MOTION TO WITHDRAW
        CASE NO. 5:18-cv-7182 EJD                                                   6
